Case 2:05-CV-02382-.]DB-STA Document 15 Filed 06/07/05 Page 1 of 2 Page|D 11

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FoR THE WESTERN DISTRICT oF TENNESSEE "'"`°' ' '
WESTERN DIVISIoN 05 JUt-t _`7 pH 3: ug

 

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United States Of America, ‘.”?L'§H};\`)FUTIS\' Ei§§'t¢(igq

Plaintiff,
V. CIVIL ACT]ON NO. 2205»€\1-023 SZ-B/A
(Transferred from Middle District of North
National Bank of Commerce, Carolina 1:04CV00518)

Defendant/Third-Party Plaintift`,
V.
Specia]ty Foods, LLC, and Paul T. Capps,

Third-Party Defendants.

 

ORDER ADMITTING COUNSEL PRO HAC VICE

 

IT APPEARWG that the motion of counsel for National Bank of Commerce (“NBC”) for
admission pro hac vice is for good cause and should be granted.

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED, pursuant to Local
Rule 83.1(13)(1) that Steven A. McKel\/ey, Jr. and M. Ronaid McMahan, Jr., ofthe law firm of
Nelson, Mullins, Riley and Scarborough, LLP, in Columbia, South Carolina are admitted pro hac

vice for the purpose of acting as attorneys for NBC in the bove-referenced action.

w Sta s District Judge '
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Ti¢is document entered on the do ket sheet in compliance
with Ftute 58 and/ot 79{3) FRCP on ?_-£ _" _l B_Q.§ ,

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 15 in
case 2:05-CV-02382 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

